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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



MARNIE O'BRIEN,                                  :
                    Plaintiff,                   :
                                                 :
                    v.                           :      Civil No. 2:19-cv-06078
                                                 :
THE MIDDLE EAST FORUM, et al.,                   :
                Defendants.                      :

                                   CIVIL JUDGMENT


      AND NOW, this      6th day of August , 2021, in accordance with the final unanimous
JUDGMENT of the Jury;
      IT IS ORDERED that Judgment is entered in favor of:
      DEFENDANTS on Count I of Plaintiff Complaint
      DEFENDANTS on Count II of Plaintiff Complaint
      COUNTER DEFENDANT on Count I of the Counter Claimant Complaint




                                                 BY THE COURT:



                                                 ATTEST:

                                                 /s/ Christine C. Stein
                                                                          Deputy Clerk
